     Case 3:21-cv-00252-RDM          Document 19        Filed 11/23/21     Page 1 of 1




                       THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

NICOLE PANE-EVANS,

                     Plaintiff,
       v.                                           3:21-CV-252
                                                   (JUDGE MARIANI)
LANDMARK COMMUNITY BANK,

                     Defendant.

                                           ORDER

       AND NOW, THIS ~                 DAY OF NOVEMBER, 2021, upon receipt of Mediator

James J. Conaboy, Esq.'s letter stating that the above-captioned matter has settled (Doc. 18),

IT IS HEREBY ORDERED THAT this action is DISMISSED without costs and without

prejudice to the right, upon good cause shown within sixty (60) days, to reinstate the action if

settlement is not consummated.

       Failure of a party to file a motion for reinstatement, or a motion for an extension of time

to consummate the settlement, within the above 60-day time period will result in the automatic

conversion of this dismissal from one without prejudice to one with prejudice.
